          Case 1:17-cr-00078-SPW Document 80 Filed 11/15/17 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MONTANA

                          *******************                                                 NOV 15 2017
                                                                                         Clerk, U S District Court
                                                                                           District Of Montana
UNITED STATES OF AMERICA                                                                          Bi liings


              vs.

AUSTIN GOTTFRIED SCHWARZ                                No. CR 17-78-BLG-SPW-01

DOB:_--=-1"--'98=9_ __                         PETITION TO OPEN JUVENILE RECORDS

SSN:    XXX-XX-3588

Whereas the above-name defendant entered a plea of Guilty to the offense of Conspiracy to Possess
with Intent to Distribute and Distribution of Methamphetamine in violation of 21 U.S.C. § 846 in
the United States District Court for the District of Montana, the Petitioner requests all juvenile
records pertaining to the Defendant, including law enforcement, County Probation, County Welfare,
Department of Corrections records, and any records of alcohol, drug and mental health treatment,
be made available for the purpose of preparing a Presentence Investigation Report for the Court.


                                                       ~.s.Proion.dtDdm
                                                                  Officer

                                                       November 14 2017
                                                       Date

                                          **********
                                              ORDER
                                          **********
THECOURTHAVINGCONSIDEREDTHEAFOREMENTIONEDPETITIONdoesherebyorder
the release of pertinent juvenile records held by any law enforcement agency, Probation Office,
Welfare Agency, or Department of Corrections to the etitioner or authorized agency of the United
States Probation Office for the purpose of preparing a P, esentence Investigation Report for the Court.

                                                                          ~ ~~
                                                    United States District Judge


Dated this ./ f~        of 1 l ~017.
